AO 93 (Rev. l UIS) Search and Seiztcre Warrant

 

UNITED STATES DISTRICT COURT

for the

District ofNew Mexico

ln the Matter of the Search of
(Bri`eji_v describe the property to be searched
or fdennjir the person by name and address)

19 J J Henry R`oad.
La Luz, New N|exico 88337

CaseNo. IY “ ¥§/] mm

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SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the District of New N|exico

 

(:'demi_'f_\' the person or describe the proper[v 10 be searched and give irs location/2

See Attachment A, hereby incorporated by reference

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described abOV€, and that SUCh S€arch Will reveal (r`demi]§' the person or describe the proper!_\-' 10 be .rei':ed):

See Attachment B, hereby incorporated by referencel

 

YOU ARE COMMANDED to execute this warrant on or before z g ge 2915 mario exceed H da_v.s)
iii in.the daytime 6:00 a.m. to 10:00 p.m. Cl at any time in the day or night becauE good cause has been established

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken. or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to Gregory B. Wormuth, United States Magistrate Judge
(Um'ied Srnres Magr'srmre Judge)

ij Pursuant to 18 U.S,C. § 3 |03a(b), I find that immediate notification may have an adverse re lt listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this w - .. tto delay notice th person who, or whose
g

    
  
 

   
 
 

  

property, will be searched or seized (check me appropriate bo_r)

El for days mario e.rceedjn,) ij unti|,the factsjustifying, the 1 ‘ cif`tc date of

 

 

Jnk'ge 's signature

Date and time issued: /D §_c Zp l 9
/ ¢’ l 5 § s
City and mata Las Cruces, New Mexico Gregory B. Wormuth, United States Magistrate Judge

  

 

 

Pri`med name crin title

 

AO 93 (Rev, l l/|3) Search and Seizure Warrant (l"age 2)

 

Ret n rn

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

lnventory made in the presence of :

 

lnventory of the property taken and name of any person(s) seized:

 

Certil'tcation

 

l declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date:

 

E,\'ecntt'ug officer 's signature

 

Prinien' name and title

 

 

 

 

ATTACHMENT A

 

DESCRIPTION OF LOCATION TO BE SEARCHED

The residence located at 19 J J _Henry Road, La Luz, New Mexico 88337 is a single story
manufactured home. The home’s exterior is comprised of beige colored siding with a gable roof.
When looking at the residence from J J Henry Road, the front door is inset at the right of the
residence A ramp lads up to the front door. The front door is covered by a white colored metal
storm door. Directly to the left of the front door is a small window with white trim. Affixed to
the front of the house are the numbers “19” and the work “Cope”. The property consists of
approximately one half acre, containing the manufactured home and three other buildings The '
entire property is surrounded by a fence. The fence running along the front of the property is a
wood privacy fence, and the remainder of the property is surrounded by a combination of chain
link and wire fences. The other out buildings cannot'be observed from the grounds outside of the
fences, but have been observed via online publicly available aerial maps. No air surveillance has
been conducted Three large recreation vehicles are parked on the property. There are also
multiple vehicles parked on the property, all of which are registered to one of the inhabitants of
the property.

This location to be searched includes all buildings located at this address, as Well as
recreational vehicles and vehicles, insofar as items contained in Attachment B may reasonably be

expected to be found in any of these buildings or vehicles

 

ATTACHMENT B

ITEMS TO BE SEIZED
Any and all evidence of violations of possession of child pornography under 18 U.S.C. §
2252A(a)(2) (receipt and distribution of child pornography) and 18 U.S.C. § 2252A(a)(5)(B)
(possession of child pornography) that Joshua Cope has access to including but not limited to:

l. Any and all computer(s), computer hardware, computer sonare, electronic
storage media (including any and all disk drives, compact disks, flash drives, cellular telephones,
personal digital assistants (PDS), digital cameras and/or memory cards, or any other device
capable of electronic storage of data and/or images), computer-related documentation, computer
passwords and data-security devices, videotapes, video-recording devices, video-recording
players, and video display monitors that are or may be used to: visually depict child
pornography or child erotica; display or access information pertaining to a sexual interest in child
pornography; display or access information pertaining to sexual activity with children; or
distribute, possess, or receive child pornography or child crotica.

2. Any cell phone possessed by Joshua Cope.

3. In any format and medium, all originals, computer files, copies, and negatives of
child pornography as defined in 18 U.S.C. § 2256(8), visual depictions of minors engaged in
sexually explicit conduct as defined in 18 U.S.C. § 2256(2), or child erotica.

4. Any and all diaries or address books containing names or lists of names and
addresses of individuals who have been contacted by use ofthe computer(s) or by other means
for the purpose of distributing or receiving child pornography as defined in 18 U.S.C. § 2256(8),
or visual depictions of minors engaged in sexually explicit conduct as defined in 18 U.S.C. §

2256(2)_

5. Any and all notes, documents, records, or correspondence, in any format or
medium (including envelopes, letters, papers, email messages, chat logs and electronic messages,
and handwritten notes), identifying persons transmitting, through interstate or foreign commerce
by any means (including the United States mail or computer) any child pornography as defined
in 18 U.S.C. § 2256(8) or any visual depictions of minors engaged in sexually explicit conduct,
as defined in 18 U.S.C. § 2256(2), 1

6. Any and all records, documents, invoices and materials, in any format or medium
(including envelopes, letters, papers, email messages, chat logs and electronic messages, and
other digital data files) that concern any accounts with an intemet service provider.

7. Any and all cameras, film, videotapes or other photographic equipment capable of
being used to produce, manufacture, store and/or conceal visual depictions of minors engaged in
sexually explicit conduct as defined in 18 U.S.C. § 2256(2).

8. Any and all diaries, notebooks, notes, and other records reflecting personal
contact and other activities with minors visually depicted while engaged in sexually explicit
conduct, as defined in 18 U.S.C. § 2256(2).

9. Any and all documents, records, or correspondence, in any format or medium
(including envelopes, letters, papers, email messages, chat logs and electronic messages, and
other digital data files), pertaining to the identity of any and all owners and/or users of any
computers, computer media and any electronic storage devices discovered in the premises and
capable of being used to produce, manufacture, store and/or conceal visual depictions of minors

engaged in sexually explicit conduct as defined in 18 U.S.C. §2256(2).

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